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                                   5                                     UNITED STATES DISTRICT COURT
                                   6                                   NORTHERN DISTRICT OF CALIFORNIA
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                                             IN RE: LITHIUM ION BATTERIES                 Case No.: 13-MD-2420 YGR
                                   9         ANTITRUST LITIGATION
                                                                                          AMENDED ORDER GRANTING DEFENDANTS'
                                  10                                                      ADMINISTRATIVE MOTION TO ADJOURN AND
                                             This Order Relates to:                       CONTINUING STATUS CONFERENCE TO
                                  11                                                      FEBRUARY 7, 2014; REQUIRING PARTIES TO
                                             All Indirect Purchaser and Direct            SUBMIT JOINT PROPOSAL AFTER MEETING
Northern District of California




                                  12                                                      AND CONFERRING; REQUIRING PLAINTIFFS
 United States District Court




                                             Purchaser Actions
                                                                                          TO SUBMIT NOTICE OF ATTORNEY FEES
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                                  14            On December 6, 2013, at a hearing on seven motions to dismiss the Indirect Purchaser
                                  15   Plaintiffs' and Direct Purchaser Plaintiffs' consolidated amended complaints,1 the Court set a status
                                  16   conference in the above-styled matter for January 24, 2014.
                                  17            On January 16, 2014, Defendants filed an administrative motion to adjourn the January 24,
                                  18   2014 status conference. (Dkt. No. 352.) On that date, the Court had yet to issue its Order on the
                                  19   pending motions to dismiss ("MTD Order"), which issued in conjunction with this Order.
                                  20   Defendants' administrative motion suggests that a status conference would better use the Court's
                                  21   and the parties' time if the parties came to the conference armed with the Court's ruling on the
                                  22   motions to dismiss. Plaintiffs disagree. (Dkt. No. 353.) They contend that the January 24
                                  23   conference should proceed on the scheduled date so that the Court can provide guidance on at least
                                  24   three issues which Plaintiffs contend are now ripe: (1) the deadline for the Panasonic, Sanyo, and
                                  25   Sony Defendants to complete document production ordered at the December 6, 2013 hearing; (2)
                                  26   the deadline for completion of initial disclosures and a formal Rule 26(f) conference; and (3) the
                                  27   priority of near-term discovery efforts, for example, transactional data.
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                                           The Court has issued an Order resolving those motions concurrently with this Order.
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                                   1            Defendants' argument is mooted to some extent by the Court's having issued the MTD
                                   2   Order today. Nevertheless, the Court determines that, in light of its trial schedule2 and the recency
                                   3   of the MTD Order, a short continuance of the January 24, 2014 status conference is warranted.
                                   4   Accordingly, the Court GRANTS Defendants' administrative motion to adjourn the January 24, 2014
                                   5   conference and CONTINUES that conference to the Court's 2:00 p.m. PST Calendar on Friday,
                                   6   February 7, 2014, in Courtroom 5 of the United States Courthouse located at 1301 Clay Street in
                                   7   Oakland, California.
                                   8            The Court ORDERS the parties to file, no later than January 31, 2014, a Joint Statement
                                   9   setting forth (1) deadlines for the satisfaction of current document production obligations by the
                                  10   Panasonic, Sanyo, and Sony Defendants, (2) a proposed briefing and hearing schedule for assumed
                                  11   future amended complaints, plus assumed further motions to dismiss, including issues the Court
                                  12   previously reserved for future briefing (Dkt. No. 276), and (3) completion of initial disclosures and
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                                  13   a formal Rule 26(f) conference. If the parties fail to agree on a single proposed schedule, they may
                                  14   submit competing proposals in the form of a single chart displaying the parties' positions side by
                                  15   side.
                                  16            The Court ORDERS the parties to meet and confer prior to submitting their Joint Statement.
                                  17            Finally, the Court ORDERS Plaintiffs to provide the Court with notice of the status of
                                  18   attorney fees incurred, using the form provided to Judge Illston in In re TFT-LCD (Flat Panel)
                                  19   Antitrust Litigation, Case No. 07-md-1827. Plaintiffs shall provide the first such update no later
                                  20   than January 31, 2014. Plaintiffs shall provide updated information in the same form every three
                                  21   months thereafter.
                                  22            This Order terminates Docket No. 352.
                                  23            IT IS SO ORDERED.
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                                  25   Dated: January 22, 2014                             _______________________________________
                                                                                                 YVONNE GONZALEZ ROGERS
                                  26                                                         UNITED STATES DISTRICT COURT JUDGE
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                                           On January 21, 2014, the Court commenced a multi-week criminal trial.

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